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Dashawn A. LaRode Eastern District Court of New York

C/O: 151 Grafton Street

Brooklyn, New York republic, [11212] Docket No. 24-CV-08622 (HG)

Clerk of the Court “<<

Eastern District Court of New York BECFAVED IN PRO SE OFF RE =

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Subject: Strike from the record Any Order or Informal Request to Dismiss My Claim Dug-to Duew

Process Violation by the Clerk of Court a

Dear Clerk of the Court,

I am respectfully requesting this honorable court to strike from the record any order or informal
request seeking to dismiss my claim from the record due to the clerk of the court’s failure to
properly file my Abatement Objection Motions on February 26, 2025. The misplacement or failure
to file my motions constitutes a clear violation of my due process rights under the Fifth and
Fourteenth Amendments of the U.S. Constitution, which guarantee that no man shall be deprived
of life, liberty, or property without due process of law.
The Eastern District Court of New York and the Second Circuit Court have consistently held that
procedural due process must be strictly adhered to when a party has properly submitted legal
motions. The failure of the clerk’s office to file my Abatement Objection Motions constitutes a
fundamental procedural irregularity that has prejudiced my ability to seek justice and defend my
claim.
Relevant case law in support of my objection includes:
1. (Armstrong v. Manzo, 380 U.S. 545 (1965)) — The Supreme Court held that a party must
be given an opportunity to be heard at a meaningful time and in a meaningful manner,
reinforcing the requirement that procedural due process be followed.

2. (Gonzalez v. Sullivan, 934 F.2d 419 (2d Cir. 1991)) — The Second Circuit emphasized
that due process requires that a litigant's submissions be properly considered and filed,
ensuring access to the courts.

3. (Griffin v. Illinois, 351 U.S. 12 (1956) — The Supreme Court reaffirmed that the state must

provide fair and adequate procedures for all litigants, regardless of status or position.

4. (In re United States, 733 F.2d 10 (2d Cir. 1984))— The Second Circuit ruled that
procedural irregularities by court clerks that result in the deprivation of a litigant’s rights
can constitute reversible error.

5. (Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803)) — Establishing the principle that an
aggrieved party has the right to seek judicial redress when denied procedural protections.

Based on these precedents, | respectfully request that the court recognize the procedural deficiency
and take corrective action to ensure that my Abatement Objection Motions are duly filed and
considered on the record. Further, any attempt to dismiss my claim based on this procedural
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oversight would constitute a direct violation of my constitutional rights and established legal
precedents.
I appreciate your prompt attention to this matter and respectfully request confirmation that my
Abatement Objection Motions have been properly recorded and addressed.
Dated: March 5, 2025

Respectfully,

By: Dapon [Ee-
Dashawn A. LaRode
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CC:

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